       Case 3:22-cv-00267-BAJ-RLB          Document 22-2        05/19/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

 MMR CONSTRUCTORS, INC.,                          :      CIV. NO. 22-267
                                                  :
        Plaintiff,                                :
                                                  :
 VERSUS                                           :      JUDGE BRIAN A. JACKSON
                                                  :
 JB GROUP OF LA, LLC D/B/A                        :
 INFRASTRUCTURE SOLUTIONS GROUP                   :
 and DAVID HEROMAN,                               :      MAGISTRATE JUDGE RICHARD L.
                                                  :      BOURGEOIS, JR.
        Defendants.


                                             ORDER

       Considering the Joint Motion to Approve Forensic Protocol and having reviewed the

agreed upon Forensic Protocol:

       IT IS HEREBY ORDERED that the Motion is GRANTED and the Forensic Protocol is

accepted and approved as an Agreed Order of the Court.




                                           UNITED STATES DISTRICT JUDGE
